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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 11-1169-DDP

13              Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                              RE: DEFENDANT HEE JUNG MUN; 5K1.1
14                   v.                       DEPARTURE MOTION; EXHIBIT A;
                                              DECLARATION OF KRISTEN A. WILLIAMS
15   HEE JUNG MUN,
                                              Hearing Date:    July 28, 2014
16              Defendant.                    Hearing Time:    1:30PM
                                              Location:        Courtroom of the
17                                                             Hon. Dean D.
                                                               Pregerson
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorney Kristen A. Williams,
24   hereby files its Sentencing Position and 5K1.1 Departure Motion
25   Regarding Defendant Hee Jung Mun.
26        This position is based upon the attached memorandum of points
27   and authorities, exhibit, declaration of Assistant United States
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1    Attorney Kristen A. Williams, the presentence report, the files and

2    records in this case, and such further evidence and argument as the

3    Court may permit.

4    Dated: July 9, 2014                  Respectfully submitted,

5                                         ANDRÉ BIROTTE JR.
                                          United States Attorney
6
                                          ROBERT E. DUGDALE
7                                         Assistant United States Attorney
                                          Chief, Criminal Division
8

9                                              /s/
                                          KRISTEN A. WILLIAMS
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          The government hereby files its sentencing position for

4    defendant Hee Jung Mun (“defendant”), who has pled guilty to an

5    Information charging her with health care fraud in connection with a

6    scheme at Greatcare Home Health (“Greatcare”).

7          The government agrees with the PSR’s calculation of the

8    applicable offense level as 29 and Sentencing Guidelines range of 87-

9    108 months.    The government further moves for a four-level departure

10   under Section 5K1.1, bringing defendant’s applicable offense level to

11   25 and range to 57-71 months.       Considering the sentencing factors

12   laid out in 18 U.S.C. § 3553(a), the aggravating and mitigating

13   factors in this case, and the defendant’s substantial assistance to

14   the government, the government recommends the Court impose a 57-month
15   custodial sentence, followed by three years supervised release, and a
16   restitution order of $5,144,277.54.
17   II.   PROCEDURAL BACKGROUND
18         On January 11, 2012, defendant pled guilty to an Information
19   charging a single count of health care fraud, in violation of 18

20   U.S.C. § 1347, pursuant to a plea agreement.         The charge stems from

21   defendant’s orchestration of a scheme to recruit Medicare

22   beneficiaries and submit fraudulent billing for medically unnecessary

23   home health services that were either never provided or provided by

24   unlicensed individuals.

25         On August 9, 2012, the USPO issued a PSR calculating a

26   Guidelines range of 87-108 months based on a total offense level of

27   29 and a criminal history category of I.         (PSR ¶ 91; CR 17.)     In its

28   accompanying recommendation letter, the USPO recommended a mid-range
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1    Guideline sentence of 96 months.       (USPO Recommendation Letter (“USPO

2    Rec. Letter”) at 2; CR 16.)      The USPO further recommended a three-

3    year term of supervised release and a restitution order of

4    $5,144,277.54.    (Id. at 1.)

5         Defendant has not yet filed a sentencing position.

6    III. STATEMENT OF FACTS
7         This investigation began with a whistleblower complaint

8    regarding false claims to Medicare.         See United States v. Greatcare,

9    et al., CV 10-1988-SVW.      (PSR ¶¶ 9, 21 n.3.)     Defendant, a registered

10   nurse (“RN”), was the owner and operator of Greatcare, a home health

11   agency, between May 2008 and March 2011, when the government executed

12   a search warrant that shut Greatcare down.         (PSR ¶¶ 10, 21.)

13   Defendant orchestrated the scheme to defraud Medicare at Greatcare in

14   a variety of ways:     (1) defendant paid illegal kickbacks to doctors
15   and marketers for referrals and to Medicare beneficiaries for
16   enrolling with Greatcare; (2) defendant submitted claims for patients
17   who did not need home health; and (3) defendant fabricated and
18   directed others to fabricate documentation that made it appear as
19   though home health services were necessary, that beneficiaries were

20   sicker than they actually were, and that services were being provided

21   by licensed individuals when, in fact, those services often were not

22   provided or were provided by unlicensed individuals.           (PSR ¶¶ 13-19.)

23   Defendant did so knowing full well the Medicare requirements for home

24   health services and the illegality of kickbacks for referrals.            (PSR

25   ¶ 11.)   Defendant received at least $1.5 million through Greatcare.

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1    Medicare paid Greatcare $5,144,277.54 for its false and fraudulent

2    claims for home health services. 1      (PSR ¶ 22.)

3         After Greatcare was shut down, defendant also directed others in

4    obstructing a federal investigation.        The FBI subpoenaed Dr. Whan Sil

5    Kim 2 for her patient files related to the patients she referred to

6    Greatcare.   (PSR ¶ 23.)     Dr. Kim did not have many files at the time

7    of the subpoena, so defendant and Greatcare employees Yeong Ja Lee

8    (“Y. Lee”) 3 and Jung Sook Lee (“J. Lee”) 4 helped Dr. Kim create files,

9    often using made up information that they guessed at based on the

10   Greatcare billing data that defendant provided.          (Id.)   These files

11   were later submitted to federal agents.        (Id.)

12        Aside from her work at Greatcare, defendant was also employed at

13   (and encouraged other Greatcare RNs to work at) other home health

14   agencies, including Jubilee Home Health, that operated in a manner
15   similar to Greatcare.     (PSR ¶ 42, Ex. A at 13-15, 19-20.)         For
16   reasons that are not clear, defendant directed those other RNs to
17   give her the payments they received from Jubilee and deposited them
18   into her own corporation bank account.        (PSR ¶ 42, Ex. A at 15, 20.)
19

20        1
            As the PSR notes, $1.298 million was seized from Mun’s bank
     accounts in March 2011. (PSR ¶ 21) Some co-schemers have signed
21   settlement agreements and made payments in that case. For example,
     Seonweon Kim agreed to pay $205,000, and, as of this filing, has paid
22   approximately $103,000. Uncharged individuals Dr. Bo Paik and Dr.
     Dong Shin have agreed to pay $530,000 and $217,810, respectively. As
23   of this filing, Dr. Paik has paid $530,000, and Dr. Shin has paid
     $180,000. A $14.9 million dollar default judgment was entered in
24   that civil case with respect to defendant. (CV 10-1988-SVW, CR 117.)
          2
25          Dr. Kim was charged in related case CR 12-588-DDP, and was
     previously sentenced to a year and a day in custody. (PSR ¶ 7.)
26        3
            Y. Lee was charged in related case CR 12-397-DDP, and is
     scheduled to be sentenced on July 24, 2014. (PSR ¶ 7.)
27        4
            J. Lee was charged in related case CR 12-15-DDP, and is
28   scheduled to be sentenced on July 28, 2014. (PSR ¶ 7.)

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1    IV.   THE PRESENTENCE REPORT
2          The government has no objections to the PSR.

3    V.    SECTION 5K1.1 MOTION
4          The government hereby moves for a four-level departure under

5    Guidelines Section 5K1.1 based on defendant’s provision of

6    substantial assistance to the government.         Under Section 5K1.1, the

7    government may make a motion for a departure from the Guidelines

8    range when “the defendant has provided substantial assistance in the

9    investigation or prosecution of another person who has committed an

10   offense.”   U.S.S.G. § 5K1.1.      In determining the appropriate

11   reduction, the Court may consider (1) the significance and usefulness

12   of the defendant’s assistance; (2) the truthfulness, completeness,

13   and reliability of any information or testimony provided by

14   defendant; (3) the nature and extent of the assistance; (4) any risks
15   defendant incurred in providing the assistance; and (5) the
16   timeliness of the assistance.       Id.
17         Defendant substantially assisted the government in charging and

18   obtaining pleas from seven related defendants who participated in the

19   Greatcare scheme, and in investigating two other referring doctors

20   who ultimately agreed to civil settlements related to Greatcare.

21   (See supra n.1.)     After some initial dissembling, defendant

22   proffered, pre-indictment, regarding her conduct at Greatcare.

23   Defendant then went on to meet with the government on multiple other

24   occasions between August 2011 and May 2013, providing additional

25   information and documentation regarding those co-schemers.            Defendant

26   also testified under oath in anticipation of the charges against Dr.

27   Kim and Y. Lee.    More recently, defendant met with the government

28   regarding and was prepared to testify at the trial against Y. Lee;
                                               4
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1    defendant did not end up testifying only because Y. Lee ultimately

2    pled guilty.

3          Defendant’s assistance warrants a four-level departure under

4    Section 5K1.1.      Defendant provided timely, significant assistance

5    regarding three individuals with equal culpability (Drs. Kim, Shin,

6    and Paik) and six individuals with lesser culpability (Ji Hae Kim,

7    Hwa Ja Kim, Seonweon Kim, J. Lee, Y. Lee, and Sang Whan Ahn).              At the

8    time of defendant’s assistance, the government was in possession of

9    considerable evidence against these other individuals and could have

10   proceeded without defendant’s assistance against all but the three

11   doctors.   However, defendant’s cooperation was nonetheless helpful

12   against all, and essential with respect to the charging of Dr. Kim.

13   Defendant’s statements were produced to the related defendants and

14   her plea implicating them was publicly filed and may have led to
15   those defendants’ guilty pleas.       Defendant’s statements and plea may
16   have also motivated Drs. Shin and Paik to sign the civil settlement
17   agreements.      Defendant’s assistance was largely truthful.        The
18   government has no information that she faced any threats or danger in
19   providing it.      For these reasons, under the Section 5K1.1 analysis,

20   defendant’s assistance has earned a four-level departure.            With this

21   four-level departure, defendant’s total offense level falls to 25,

22   with an applicable Guidelines range of 57-71 months.

23   VI.   ARGUMENT
24         The government recommends a 57-month custodial sentence,

25   followed by a three-year term of supervised release, and a

26   restitution order of $5,144,277.54.

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1          A.     Legal Standard
2          While not definitive, the Guidelines range provides the starting

3    point for finding a reasonable sentence and must then be considered

4    with the factors set forth in Section 3553(a). 5         See United States v.

5    Cantrell, 433 F.3d 1296, 1279 (9th Cir. 2006).          “To comply with the

6    requirements of Booker, the district court must have sufficiently

7    considered the Guidelines as well as the other factors listed in

8    § 3553(a).     This requirement does not necessitate a specific

9    articulation of each factor separately, but rather a showing that the

10   district court considered the statutorily-designated factors in

11   imposing a sentence.”      United States v. Nichols, 464 F.3d 1117, 1125

12

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           5
               The § 3553(a) factors are as follows:
14
           (1) The nature and circumstances of the offense and the
15         history and characteristics of the defendant;
           (2) The need for the sentence imposed:
16
                (A) To reflect the seriousness of the offense, to
17         promote respect for the law, and to provide just punishment
           for the offense;
18              (B) To afford adequate deterrence to criminal
           conduct;
19              (C) To protect the public from further crimes of the
           defendant; and
20
                (D) To provide the defendant with needed educational
21         or vocational training, medical care, or other correctional
           treatment in the most effective manner;
22         (3) The kinds of sentences available;
           (4) The kinds of sentence and the sentencing range
23         established [for the offense and the defendant as set forth
           in the Sentencing Guidelines];
24         (5) Any pertinent policy statement . . . ;
25         (6) The need to avoid unwarranted sentence disparities
           among defendants with similar records who have been found
26         guilty of similar conduct; and
           (7) The need to provide restitution to any victims of the
27         offense.
28         18 U.S.C. § 3553(a).

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1    (9th Cir. 2006) (quoting United States v. Knows His Gun, 438 F.3d

2    913, 918 (9th Cir. 2006)).

3          B.    Nature and Circumstances of the Offense
4          For nearly three years, defendant managed a scheme to defraud

5    Medicare that led to more than $5 million in losses to Medicare, a

6    program that can hardly afford them.         She directed numerous others in

7    executing the scheme, perverting the legitimate home health process

8    at every turn, from patient enrollment to billing to record keeping.

9          In aggravation, defendant orchestrated this scheme to defraud

10   Medicare and obtain a substantial amount of money in a relatively

11   short time, with little concern for the elderly, vulnerable Medicare

12   population she was exploiting.       When an investigation threatened, her

13   first impulse was to create still more false records to try to cover

14   her tracks.    She benefitted handsomely from the scheme, receiving
15   large amounts of the proceeds and living at the time in an upscale
16   neighborhood.     (PSR ¶ 82.)    She only stopped committing fraud at
17   Greatcare when the government shut Greatcare down.
18         In mitigation, the government is not aware of any patient harm
19   that resulted from defendant’s conduct.

20         C.    History and Characteristics of the Defendant
21         Based on the information provided, defendant appears to have had

22   a fairly stable childhood, absent of the sort of disadvantages and

23   abuse this Court frequently sees.        Moreover, unlike many defendants,

24   defendant had the education and professional qualifications to earn a

25   living by lawful means, particularly given the well-known nursing

26   shortage in this country.       (PSR ¶¶ 65-68.)    Defendant did work before

27   Greatcare in the home health field.         (PSR ¶ 73.)   However, several of

28   her places of employment appear to have also been tied to fraud, thus
                                             7
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1    undermining any claim that the current conduct is an aberration.

2    (See PSR ¶ 42.)

3          D.    Need to Provide Restitution
4          Nearly $1.2 million was seized from bank accounts defendant

5    controlled in March 2011.       As a part of her plea agreement, defendant

6    agreed that these funds could be applied to any restitution ordered.

7    (See Plea Agmt. ¶ 2(i), CR 4.)       Defendant’s ability to provide

8    additional restitution in the future will be limited by (1) her

9    exclusion from the Medicare program and (2) the revocation of her

10   nursing license, both likely consequences of her felony conviction in

11   this case.    See 42 U.S.C. § 1320a-7(a)(1) (concerning mandatory

12   exclusion for those convicted of criminal offenses related to the

13   delivery of health care services); Cal. Bus. & Prof. Code § 2761

14   (including conviction of a felony substantially related to the
15   qualifications, functions, and duties of an RN as grounds for
16   discipline by the licensing board).         The recommended period of
17   incarceration (during which she would have to make nominal
18   restitution payments), followed by a three year period of supervised
19   release in which she is obligated to make restitution payments (USPO

20   Rec. Letter at 1-2) will provide an opportunity for at least some

21   repayment of the losses she caused.

22         E.    Protection of the Public from Further Crimes by the
                 Defendant
23

24         As noted above, defendant will likely be excluded from being a

25   Medicare provider and lose her license by virtue of her conviction,

26   which goes some way towards protecting the public.           However, the

27   government notes that defendant has not voluntarily surrendered her

28   license, meaning that, absent quick action by the licensing board,
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1    defendant’s license will remain valid through 2015, creating a risk

2    that defendant will attempt to reenter the extensive networks of Los

3    Angeles health care fraud.       Moreover, while she will not be able to

4    enroll as a provider with Medicare (and technically no Medicare

5    provider will be able to bill for her services), it may be difficult

6    for Medicare to determine if she is involved with a provider,

7    creating additional risks.

8          F.    Need for the Sentence to Reflect the Seriousness of the
                 Offense, Promote Respect for the Law, Provide Just
9                Punishment, and Afford Adequate Deterrence
10         The seriousness of this offense and defendant’s conduct

11   evidencing a lack of respect for the law (including both her conduct

12   in this case and her apparent involvement in similar conduct at other

13   home health agencies) are aggravating factors.          Most significantly,

14   however, a substantial custodial sentence is warranted in light of
15   the need to deter generally individuals like defendant who are the
16   gatekeepers of health care fraud and who encourage Medicare to rely
17   on their license and certifications of medical necessity and
18   statements about services provided.         Medicare trusted in defendant’s
19   promise to submit only truthful and accurate claims, and defendant

20   repaid that trust with a $5 million fraud scheme.           Unfortunately,

21   home health fraud like that at Greatcare is not unique; the

22   government has seen similar schemes in this district, where home

23   health is a multi-billion dollar industry.         The best weapon against

24   fraud in the face of this sort of volume is substantial sentences

25   that are well-publicized.       A sentence lower than the 57 months

26   recommended by the government would undermine need to provide

27   adequate deterrence.

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1          G.     The Need to Avoid Unwarranted Sentencing Disparities
2          A sentence within the Guidelines range is usually the best way

3    to avoid sentencing disparities.        See United States v. Mares, 402

4    F.3d 511, 518-19 (5th Cir. 2005).        Because this case should be viewed

5    in the context of the numerous related cases, the chart below

6    (arranged from most to least culpable when both offense conduct and

7    cooperation have been taken into account) places defendant in

8    relation to her co-schemers. 6      The chart also depicts both the

9    government’s recommendations and the Court’s sentences for those who

10   have been sentenced, in an effort to help the Court see the integrity

11   of the government’s recommendations and consider the sentences given

12   to other co-schemers in arriving at the most reasonable sentence

13   here.

14   Defendant and   Loss       5K1.1        Other Factors        Gov’t Rec.   Sentence
     Case No.                   Departure
15   Hee Jung Mun    $5.144M    4 levels     Licensed             57 months
     CR 11-1169                              professional,
16                                           obstruction,
                                             organizer of
17                                           scheme
     Whan Sil Kim    $1.088M    Under Seal   Licensed             41 mos.      12 mos.
18   CR 12-572                               professional,                     + 1 day
                                             obstruction, age
19                                           and medical
                                             issues, low
20                                           personal benefit
                                             ($20-30,000), pre-
21                                           indictment plea
     Ji Hae Kim      $1.136M    None         Licensed             37 mos. 7
22   CR 11-1082                              professional, pre-
                                             indictment plea
23

24         6
            The chart does not include information about 5K1.1 departures,
     if any, in sentencing positions that have been filed under seal. The
25   government respectfully refers the Court to those under seal
     pleadings for that information.
26        7
            Ji Hae Kim is currently a fugitive, having fled the country
27   shortly before her scheduled sentencing. In light of this, the
     government’s recommendation will likely be higher if Ms. Kim is found
28   and returned to this country for sentencing.

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1    Defendant and   Loss       5K1.1        Other Factors        Gov’t Rec.   Sentence
     Case No.                   Departure
2    Hwa Ja Kim      $1.004M    None         Licensed             33 mos.      18 mos.
     CR 12-59                                professional, pre-
3                                            indictment plea,
                                             1-level variance
4                                            to avoid disparity
     Seonweon Kim    $1.867M    5 levels     Licensed             21 mos. 8
5    CR 12-9                                 professional, two
                                             separate schemes,
6                                            pre-indictment
                                             plea, partial
7                                            repayment
     Jung Sook Lee   $539,149   3 levels     Obstruction, pre-    21 mos.
8    CR 12-15                                indictment plea,
                                             low personal
9                                            benefit ($61,000)
     Yeong Ja Lee    $190,873   None         Obstruction, low     18 mos.
10   CR 12-397                               personal benefit
                                             ($48,000)
11   Sang Whan Ahn   $676,066   Under Seal   Pre-indictment       6 mos. + 6
     CR 12-588                               plea, family         mos. home
12                                           circumstances        detention

13
           H.    Combined Analysis
14
           Considering all of the above factors, as well as defendant’s
15
     substantial assistance to the government, the government recommends
16
     that the Court sentence defendant to 57 months imprisonment, at the
17
     low end of the applicable Guidelines range.          Such a sentence
18
     adequately addresses the mitigating factors in this case, while still
19
     recognizing the seriousness of defendant’s offense and the need for
20
     general deterrence.
21
     VII. CONCLUSION
22
           For the foregoing reasons, the government respectfully requests
23
     that this Court sentence defendant to 57 months imprisonment, to be
24
     followed by a three-year term of supervised release, and a
25
     restitution order of $5,144,277.54.
26
           8
27          The government learned of Mr. Kim’s civil payments after it
     filed its sentencing position and expects to revise its position
28   accordingly.

                                             11
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1                            DECLARATION OF KRISTEN A. WILLIAMS
2          I, Kristen A. Williams, state and declare as follows:

3          1.    I am an Assistant United States Attorney (“AUSA”) for the

4    Central District of California and the attorney assigned to the

5    prosecution of United States v. Hee Jung Mun, CR No. 11-1169-DDP.               I

6    make this declaration in support of the Government’s Sentencing

7    Position Re: Defendant Hee Jung Mun.

8          2.    Exhibit A, which is attached to this pleading, consists of

9    true and correct copies of reports of law enforcement interviews with

10   related defendants Ji Hae Kim and Hwa Ja Kim, which were conducted on

11   August 15, 2011, and January 11, 2012, respectively.           I received

12   these interview reports from the agents working on this

13   investigation.

14         I declare under penalty of perjury under the laws of the United
15   States of America that the foregoing is true and correct to the best
16   of my knowledge and belief and that this declaration was executed on
17   July 9, 2014, at Los Angeles, California.
18

19                                                        ___________/s/__________
                                                          KRISTEN A. WILLIAMS
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